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                        Exhibit 2

                     Bank Accounts
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No.   Entity           Bank Name            Last Four        Account Type
                                            Digits of
                                            Account No.
1     Bittrex, Inc.    Customers Bank       3217             Operating Account
2     Bittrex, Inc.    Customers Bank       0675             OTC Account
3     Bittrex, Inc.    Customers Bank       2017             FBO Account
4     Bittrex, Inc.    United Texas Bank    2423             Dormant Account
5     Bittrex, Inc.    Prime Trust Bank     4450             FBO Account
6     Bittrex, Inc.    Prime Trust Bank     1241             Reserve Account
7     Bittrex, Inc.    Goldman Sachs        2601             Dormant Account
